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                         UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF FLORIDA
                              PENSACOLA DIVISION

UNITED STATES OF AMERICA

        VS                                                             CASE NO. 3:08cr22/LAC

NEVILLE McGARITY

                                  REFERRAL AND ORDER

Referred to Judge Lacey Collier on August 26, 2008
Motion/Pleadings: MOTION TO PAY FOR PRODUCITON OF DISCOVERY DOCUMENTS
Filed by Defendant                        on 8/22/2008    Doc.#     273
RESPONSES:
                                          on              Doc.#
                                          on              Doc.#
        Stipulated            Joint Pldg.
        Unopposed             Consented
                                          WILLIAM M. McCOOL, CLERK OF COURT

                                               s/ Susan Simms
LC (1 OR 2)                                    Deputy Clerk: Susan Simms

                                            ORDER
Upon    consideration     of    the   foregoing,     it   is     ORDERED   this    26 th   day   of
August, 2008, that:
(a) The relief requested is DENIED.
(b) Without prejudice.         The Court can not approve without some estimate of the
total cost involved.



                                                               s /L.A. Collier
                                                            LACEY A. COLLIER
                                                  Senior United States District Judge




Entered On Docket:                    By:
Rules 58 & 79(a) FRCP or 32(d)(1) & 55 FRCRP
Copies sent to:




                                Document No.
